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8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
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11   ANA VENTURA,                           Case No. 2:24-cv-01601-FLA (PVCx)
12                          Plaintiff,
                                            ORDER DISMISSING ACTION
13              v.                          [DKT. 16]
14
     CELINA PINEDO, et al.,
15
                            Defendants.
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1          On April 29, 2023, Plaintiff Ana Ventura filed a Notice of Settlement, stating
2    the parties had agreed to settle the action and anticipated filing a stipulation to dismiss
3    the action and requesting the court grant the parties thirty (30) days to complete the
4    settlement and file dispositional documents. Dkt. 16.
5          Having considered the Notice of Settlement and finding good cause therefor,
6    the court hereby ORDERS:
7              1. All deadlines governing this action are VACATED.
8              2. The court DISMISSES the action without prejudice. The court retains
9                 jurisdiction to vacate this Order and to reopen the action within sixty (60)
10                days from the date of this Order, provided any request by a party to do so
11                shall make a showing of good cause as to why the settlement has not
12                been completed within the 60-day period, what further settlement
13                processes are necessary, and when the party making such a request
14                reasonably expects the process to be concluded.
15             3. This Order does not preclude the filing of a stipulation of dismissal with
16                prejudice pursuant to Fed. R. Civ. P. 41, which does not require approval
17                of the court. Such stipulation shall be filed within the aforementioned
18                60-day period, or by such later date ordered by the court pursuant to a
19                stipulation by the parties that conforms to the requirements of a showing
20                of good cause stated above.
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22         IT IS SO ORDERED.
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24   Dated: April 30, 2024
25                                                  _______________________________
                                                    FERNANDO L. AENLLE-ROCHA
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                                                    United States District Judge
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